                 So Ordered.

Dated: October 20th, 2020




                           UNITED STATES BANKRUPTCY COURT
                           EASTERN DISTRICT OF WASHINGTON

        In re:                                        Case No. 18-03197-FPC7

        GIGA WATT, Inc., a Washington                 FINDINGS OF FACT AND
        corporation,                                  CONCLUSIONS OF LAW IN
                                                      SUPPORT OF ORDER
                                Debtor.               AUTHORIZING TRUSTEE’S
                                                      SALE OF MOSES LAKE
                                                      EQUIPMENT

                 THIS MATTER came before the Court on the Chapter 11 Trustee’s Motion

       to approve the sale of certain equipment located at the Debtor’s facility in Moses

       Lake, Washington, free and clear of all liens, claims and interests, and to approve

       bid procedures and shorten time (“the Motion”). (ECF No. 720). The Court

       reviewed the files and records herein, including the Motion, and the Trustee’s

       Memorandum (ECF No. 721), Declaration of Trustee Mark Waldron (ECF No.

       722), Objection filed by Jun Dam, pro se (ECF No. 753), Request for Judicial

       Notice in Support of Objection to Motion (ECF No. 759), heard argument from the

       parties; heard sworn testimony of Mr. Waldron and Mr. Dam at the hearing on

       October 19, 2020; and was fully advised in the premises. Based on the foregoing,

       FINDINGS OF FACT AND CONCLUSIONS OF LAW . . . – Page 1
        18-03197-FPC7      Doc 764   Filed 10/20/20    Entered 10/20/20 12:03:11   Pg 1 of 15
the Court provided some oral findings and conclusions at the hearing on October

19, 2020 and ordered the Trustee to prepare an order to accompany the Court’s

written findings and conclusions. The Court incorporates its oral findings of fact

and conclusions of law, pursuant to Fed. R. Bankr. P. 9014(c) and 7052, and enters

the following additional findings of fact and conclusions of law to accompany the

order approving the sale of the Moses Lake equipment:


                                FINDINGS OF FACT1
Procedural History

               1.     On November 19, 2018, Giga Watt, Inc. filed a voluntary

    petition for bankruptcy under Chapter 11 of the Bankruptcy Code. (ECF No. 1).

               2.     On December 19, 2018, the United States Trustee’s Office

    appointed the Official Committee of Unsecured Creditors (the “Creditors

    Committee”) and assigned three trade creditors to the Creditors Committee. (ECF

    No. 56).

               3.     On January 15, 2019, the Creditor’s Committee requested the

    Court appoint a Chapter 11 Trustee. The motion was based on alleged

    mismanagement by the Debtor-in-Possession. Specifically, the Creditor’s

    Committee argued that Debtor: (i) filed a “skeletal bankruptcy petition;” (ii) had



1
 Where a finding of fact is actually a conclusion of law, it shall be treated as such
and vice-versa.

FINDINGS OF FACT AND CONCLUSIONS OF LAW . . . – Page 2
18-03197-FPC7        Doc 764   Filed 10/20/20   Entered 10/20/20 12:03:11   Pg 2 of 15
 not disclosed its full financial health; (iii) failed to report its pre-2018 income;

 (iv) had not disclosed whether transfers were made to insiders in the year

 preceding bankruptcy; (v) failed to disclose if material assets were missing; (vi)

 “substantially under-identified relevant creditors and stakeholders in its

 schedules;” and (vii) had not paid various third parties, thus endangering

 continued operations. (ECF No. 104). The Court granted the motion on

 January 11, 2019. (ECF No. 111).

           4.      Pursuant to 11 U.S.C. § 1104, the United States Trustee

 selected Mr. Waldron as the Chapter 11 Trustee. (ECF No. 138).

           5.      On January 24, 2019, the Court approved the United States

 Trustee’s selection of Mr. Waldron as the Chapter 11 Trustee (the “Trustee”).

 (ECF No. 146).

           6.      On February 6, 2019, the Court approved the employment of

 Ms. Pamela Egan, then of CKR Law, LLP, as Attorney for Trustee. (ECF No.

 158). Ms. Egan changed law firms and the Court approved the Trustee’s

 employment of her current law firm, the Potomac Law Group PLLC, on July 12,

 2019. (ECF No. 340).

           7.      Proofs of claim were filed in the bankruptcy by creditors who

 allege that they purchased WTT Tokens and cryptocurrency mining machines

 (“miners”). These proofs of claim each specify a dollar amount owed. On each of


FINDINGS OF FACT AND CONCLUSIONS OF LAW . . . – Page 3
18-03197-FPC7      Doc 764    Filed 10/20/20   Entered 10/20/20 12:03:11     Pg 3 of 15
    these proofs of claims, the “no” box was checked in response to the questions of

    whether the claim is secured and whether the claim is entitled to priority under 11

    U.S.C. § 507. For example: Mr. Dam’s claim is number 52-1 and is in the amount

    of $5,391,720.37; Shawn Dyck’s claim is number 199-1 and is in the amount of

    $25,320.33; Andrew Molitor’s claim is number 344-1 and is in the amount of

    $7,919.00; and Krishna Karthik Reddy Adapala’s claim is number 119-2 and is in

    the amount of $193,368.27.

             8.       On March 13, 2020, the Trustee shut down the operations at the

    Debtor’s facility in Moses Lake, Washington. (ECF No. 722).

             9.       After the Trustee shut down the operations, the landlord locked

    the gate to the perimeter fencing, effectively eliminating access to the building.

             10.      On April 10, 2020, an Ad Hoc Creditor’s Committee of WTT

    Token Holders and Miners (“WTT Token Holders”) filed an application seeking

    “administrative expenses” and for declaratory relief. In general, the WTT Token

    Holders sought payment for the period during which the Trustee operated the

    facilities for the benefit of the estate. (ECF No. 547)2 The application has not

    been noted for hearing.


2
 On April 10, 2020, the WTT Token Holders filed a motion to limit notice of the
application for the order granting a claim to administrative expense, requiring
oppositions to the motion by May 8, 2020. (ECF No. 546) The WTT Token
Holders did not submit an order after the expiration of the notice period. The WTT
Token Holders submitted a declaration of counsel on May 8, 2020, “in order to

FINDINGS OF FACT AND CONCLUSIONS OF LAW . . . – Page 4
18-03197-FPC7        Doc 764    Filed 10/20/20   Entered 10/20/20 12:03:11   Pg 4 of 15
           11.     After shutting down the operations at the Moses Lake facility,

 the Trustee negotiated three agreements that involved vacating the Moses Lake

 premises and returning the facility to the landlords Giga Plex, LLC, and DLDC 1,

 LLC.

           12.     The Court approved the first agreement the Trustee entered

 with Allrise Financial Group, Inc. and Allrise IP Holding, Inc. (ECF No. 733).

 Under the agreement, the Allrise entities are authorized to remove 100 miners

 from the Moses Lake facility in an exchange for release of all claims. (ECF No.

 687).

           13.     The Trustee’s second agreement was with the Moses Lake

 facility landlords and provided for the return of the premises after Allrise

 removed the 100 miners, and after certain equipment was removed. 3

           14.     The Trustee’s third agreement is the subject of the present

 Motion filed September 23, 2020. The Motion seeks Court authorization of the

 sale of specific equipment at the Moses Lake facility free and clear of liens. The

 Trustee also requests Court approval of the bidding procedures related to the

 equipment sale. (ECF Nos. 720, 721, 722).


clarify the identity of the Owners and their standing to bring the motion for an
administrative expense claim and associated request for declaratory relief.” (ECF
No. 593)
3
  The Trustee intends to file a motion to approve this agreement in the near future.
(ECF No. 722)

FINDINGS OF FACT AND CONCLUSIONS OF LAW . . . – Page 5
18-03197-FPC7     Doc 764    Filed 10/20/20   Entered 10/20/20 12:03:11    Pg 5 of 15
           15.      On September 30, 2020, the Court granted the United States

 Trustee’s motion to convert the case from a Chapter 11 to a Chapter 7. (ECF No.

 744). The United States Trustee selected Mr. Waldron to continue as the Trustee

 in the converted case. (ECF No. 745).

           16.      The Trustee’s request that the Motion be heard on shortened

 time was denied. (ECF No.756).

 Sale of the equipment at the Moses Lake facility

           17.      The Moses Lake facility consisted of four locked buildings on

 land that was leased. Each building had rows of miners in racks that were tightly

 placed next to one another. The Trustee held the keys to the buildings. No other

 parties or creditors had keys to the facilities.

           18.      The miners at the Moses Lake facility subject to the sale are

 labeled “Property of Giga Watt, Inc.” These labels were affixed before the

 Chapter 11 Trustee was appointed.

           19.      No financing statements referencing liens against the miners

 were filed with the Washington State Department of Licensing.

           20.      Any third party interested in purchasing the miners would

 reasonably believe that Mr. Waldron is the person with the authority to negotiate

 a sale because Mr. Waldron has the keys to the facility where the miners are




FINDINGS OF FACT AND CONCLUSIONS OF LAW . . . – Page 6
18-03197-FPC7      Doc 764    Filed 10/20/20   Entered 10/20/20 12:03:11   Pg 6 of 15
 stored, is the duly appointed trustee for Giga Watt and the miners are marked

 with Giga Watt stickers.

           21.     After Mr. Waldron was appointed as the Chapter 11 Trustee,

 some individuals who claimed ownership of particular miners contacted the

 Trustee via email to try to claim their machines. When the Trustee attempted to

 match the serial numbers or identifying numbers from the creditor to the

 machine, the task proved impossible. The Trustee discovered that prior to

 petitioning for bankruptcy, miners were moved between buildings and many

 miners were simply missing.

           22.     The equipment at the Moses Lake facility consists of used

 miners and computers, power supply units, power cables, power cords, servers

 and computer screens.

           23.     The estimated cost to remove the equipment at the Moses Lake

 facility is $10,000.

           24.     The Trustee contacted several potential buyers while trying to

 sell the equipment from Debtor’s Moses Lake facility. One potential buyer,

 EcoChain, Inc., the purchaser of Debtor’s former facility in East Wenatchee,

 Washington, offered to pay $15,000 for the Moses Lake equipment.

           25.     The Trustee negotiated an agreement (“Sale Agreement”) to sell

 the equipment at the Moses Lake facility to buyer Chain Lodge 1, LLC, a


FINDINGS OF FACT AND CONCLUSIONS OF LAW . . . – Page 7
18-03197-FPC7     Doc 764   Filed 10/20/20   Entered 10/20/20 12:03:11   Pg 7 of 15
 Washington limited liability company. Under the Sale Agreement, Chain Lodge

 1, LLC agreed to pay $42,000 within seven calendar days after entry of the order

 approving the sale and will remove the equipment at its own cost.

          26.       After the Trustee filed the Motion to approve the Sale, the

 Trustee received increased offers from both EcoChain, Inc., and from Chain

 Lodge 1, LLC.

          27.       The Sale is subject to overbidding as described in the Trustee’s

 declaration. (See ECF No. 722) The overbidding process established by the

 Trustee is fair, reasonable and appears designed to obtain the best price from a

 qualified buyer.

          28.       Creditor Jun Dam filed an objection to the Motion. (ECF No.

 753). The objection contains the signatures of over 30 additional creditors.

          29.       Mr. Dam admits that he does not own any of the miners being

 sold, but rather purchased WTT tokens from the Debtor. Mr. Dam is not a

 lawyer, nor is he an official “spokesperson” for any individuals. He testified at

 the October 19, 2020 hearing that he tried to “synthesize” and present to the

 Court the arguments of other token holders and miner purchasers who signed his

 objection.

          30.       Mr. Dam asserted in his objection that the Trustee’s negotiated

 price is too low and the “estimated proceeds for the estate is up to $700,000 or


FINDINGS OF FACT AND CONCLUSIONS OF LAW . . . – Page 8
18-03197-FPC7       Doc 764   Filed 10/20/20   Entered 10/20/20 12:03:11   Pg 8 of 15
 more based on comparable sales on Ebay….” Mr. Dam provided no evidence to

 support this assertion and the Court finds that Mr. Dam’s opinion about the value

 of the equipment is not credible.

           31.     No creditors have undertaken effective action to control or take

 possession of the equipment at the Moses Lake facility. No creditors appeared in

 person to collect the claimed equipment, no creditor filed a motion for turnover,

 and no creditor filed an adversary action related to claimed ownership of the

 equipment.

           32.     The Trustee has taken the position that the objections to the sale

 of the equipment at the Moses Lake facility by creditors, including Jun Dam and

 an ad hoc Creditor’s Committee of WTT Token Holders, are not well founded.

 Specifically, the Trustee asserts that the equipment at the Moses Lake facility is

 part of Debtor’s estate.

           33.     The creditor claims of ownership to cryptocurrency miners at

 the Moses Lake facility, which Mr. Dam attempted to “synthesize” in his

 objection, are claims in bona fide dispute.

           34.     Mr. Dam and the parties who signed the objection he prepared

 have filed proofs of claim asserting the right to money.




FINDINGS OF FACT AND CONCLUSIONS OF LAW . . . – Page 9
18-03197-FPC7     Doc 764   Filed 10/20/20     Entered 10/20/20 12:03:11   Pg 9 of 15
           35.     If the Sale Agreement is not approved, the landlord at the

 Moses Lake facility will repossess the premises and neither the Trustee nor the

 creditors will recover anything from the sale of the equipment.

           36.      The Trustee, on behalf of the Giga Watt bankruptcy estate, is

 the person in possession of the miners.

           37.      The Trustee, on behalf of the Giga Watt bankruptcy estate, is

 the person with the right of control over the miners.

           38.      The Sale Agreement was negotiated at arm’s length.

           39.      Neither potential identified buyer is an insider of the Debtor

 and both are disinterested.

           40.      With respect to the proposed sale, no evidence exists of fraud,

 collusion, or unfair bidding procedures.

           41.      The proposed sale is in good faith.

           42.      The sale of the equipment at the Moses Lake facility is an

 appropriate exercise of the Trustee’s reasonable business judgment and is

 supported by the Trustee’s articulated business justification that continuing to

 operate the facility is not profitable, and if the equipment is not sold, it will be

 lost when the landlord takes possession of the premises.




FINDINGS OF FACT AND CONCLUSIONS OF LAW . . . – Page 10
18-03197-FPC7     Doc 764      Filed 10/20/20   Entered 10/20/20 12:03:11    Pg 10 of 15
           43.     The Debtor, and then the Trustee, have exercised dominion and

 exclusive control over the miners and equipment at the Moses Lake facility since

 the Giga Watt bankruptcy petition was filed on November 19, 2018.

           44.     Time is of the essence because the Trustee will soon lose access

 to the premises in Moses Lake. The sale will allow the Trustee to recover some

 money from the equipment, while timely vacating the Moses Lake facility and

 return the premises to the landlord.

           45.     Cause exists to waive the Rule 6004 14-day stay.

           46.     The disputed ownership claims of creditors are adequately

 protected by the order approving the sale of the Moses Lake equipment providing

 that ownership rights, if any, will attach to the sale proceeds.

                            CONCLUSIONS OF LAW

           1.      The Court has jurisdiction under 28 U.S.C. § 157 and 28 U.S.C.

 § 1334.

           2.      A Trustee may use, sell, or lease property of the estate, other

 than in the ordinary course of its business. 11 U.S.C. §363 (b)(1).

           3.      Mr. Waldron, as the Chapter 7 Trustee, has the duty to collect

 and reduce to money property of the Giga Watt bankruptcy estate. 11 U.S.C. §

 704(a)(1).




FINDINGS OF FACT AND CONCLUSIONS OF LAW . . . – Page 11
18-03197-FPC7     Doc 764   Filed 10/20/20   Entered 10/20/20 12:03:11    Pg 11 of 15
          4.      Other than for some limited exceptions that do not apply here,

 property of the Gia Watt bankruptcy estate includes all legal and equitable

 property interests of Giga Watt as of November 19, 2018. 11 U.S.C. § 541(a)(1).

          5.      State law determines the existence and scope of a debtor’s

 interest in property. In re Reed, 940 F.2d 1317, 1322 (9th Cir. 1991), citing

 Butner v. United States, 440 U.S. 48, 54 (1979). That interest is determined upon

 filing the bankruptcy petition and becomes part of the bankruptcy estate at that

 time. Id., citing 11 U.S.C. §541(a).

          6.      Under Washington law, indicia of ownership includes

 possession, Allstate Ins. Co. v. Neel, 25 Wash. App. 723, 725 (1980)(an

 automobile was not “owned” by insured because the insured did not control the

 use of the automobile), and right of control. Kelly v. Aetna Cas. Sur. Co., 100

 Wash.2d 401, 407 (1983)(an automobile was not “owned” by insured because

 the insured did not possess the automobile).

          7.      The bankruptcy estate has a legal and/or equitable interest in the

 Moses Lake equipment because the Debtor and the Trustee have exclusively

 maintained possession and control of that property and excluded others from

 possessing or controlling that property.

          8.      A trustee's selection of bidding and sale procedures is a matter

 committed to the trustee's business judgment, to which the bankruptcy court


FINDINGS OF FACT AND CONCLUSIONS OF LAW . . . – Page 12
18-03197-FPC7   Doc 764    Filed 10/20/20   Entered 10/20/20 12:03:11   Pg 12 of 15
 gives deference. Simantob v. Claims Prosecutor, LLC (In re Lahijani), 325 B.R.

 282, 288–89 (9th Cir. BAP 2005).

          9.       Section 363(f) allows a chapter 11 Trustee to sell property of

 the estate free and clear that are in bona fide dispute or where the interest holder

 could be compelled in a legal or equitable proceeding, to accept a monetary

 satisfaction of such interest. 11 U.S.C. §§ 363(f)(4) and (5).

          10.      A lack of good faith in a sale is shown by “fraud, collusion

 between the purchaser and other bidders or the trustee, or an attempt to take

 grossly unfair advantage of other bidders.” In re Sw. Prod., Inc., 144 B.R. 100,

 103 (BAP 9th Cir. 1992). No such showing was made here.

          11.      A bona fide dispute exists where the court finds an objective

 basis for a factual or a legal dispute related to the validity of the debt. In re

 Vortex Fishing Sys., Inc., 277 F.3d 1057, 1064 (9th Cir. 2002).

          12.      Because the parties claiming ownership of the equipment at the

 Moses Lake facility are at odds with the Trustee’s position that the miners

 belong to the estate, these claims are subject to a bona fide dispute and thus the

 equipment may be sold free and clear of all claims, liens and interests. 11 U.S.C.

 § 363(f)(4).

          13.      Because each party who might assert an interest in the Moses

 Lake equipment has filed a proof of claim asserting the right to payment of


FINDINGS OF FACT AND CONCLUSIONS OF LAW . . . – Page 13
18-03197-FPC7    Doc 764    Filed 10/20/20    Entered 10/20/20 12:03:11     Pg 13 of 15
 money, these claimants can be compelled to accept a monetary satisfaction and

 thus the equipment may be sold free and clear of all claims, liens and interests.

 11 U.S.C. § 363(f)(5).

          14.     In this case, no parallel and piecemeal proceedings exist, as

 there were in Darby v. Zimmerman (In re Popp), 323 B.R. 260 (9th Cir. BAP

 2020) and Warnick v. Yassian (In re Rodeo), 362 F.3d 603 (9th Cir. 2004).

 Unlike the present case, the Darby and Warnick cases each had pending

 unresolved adversary actions regarding an interest in the subject property at the

 time the trustee’s motion to sell was granted.

          15.     An order authorizing the use, sale, or lease of property other

 than cash collateral is stayed until the expiration of 14 days after entry of the

 order, unless the court orders otherwise. Fed. R. Bankr. P. 6004. In connection

 with this matter, cause exists to waive the Rule 6004 stay.

          16.      The Trustee has exercised sound business judgment and

 obtained for the estate a benefit by negotiating the Sale Agreement.

          17.     The Trustee has proceeded in good faith within the meaning

 of 11 U.S.C. § 363(m) and the purchaser of the equipment is entitled to the

 protection thereof.




FINDINGS OF FACT AND CONCLUSIONS OF LAW . . . – Page 14
18-03197-FPC7    Doc 764    Filed 10/20/20   Entered 10/20/20 12:03:11    Pg 14 of 15
         18.     The form and manner of service of Notice of Chapter 11

 Trustee’s Motion for Order (ECF No. 720-3, Ex. C) was sufficient and is

 approved.

         19.     The contemporaneously entered order approving the sale of the

 Moses Lake equipment has an adequate protection provision for the benefit of

 creditors who claim they own property that is being sold.

         20.     Based on the findings and conclusions set forth above,

 contemporaneously with the entry of these findings and conclusions, this Court

 will enter an order approving the Motion.




                          //END OF DOCUMENT///




FINDINGS OF FACT AND CONCLUSIONS OF LAW . . . – Page 15
18-03197-FPC7   Doc 764   Filed 10/20/20     Entered 10/20/20 12:03:11   Pg 15 of 15
